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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

SHERRICE FRANKLIN,

         Plaintiff,

v.                                                          Case No. ____________

CHARTER COMMUNICATIONS, INC.,

         Defendant.


                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff SHERRICE FRANKLIN sues Defendant CHARTER COMMUNICATIONS,

INC. (“Charter”) and states as follows:

                                          Introduction

         1.      This is an action alleging violations of the Telephone Consumer Protection Act,

47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.

§ 559.55 et seq. (“FCCPA”).

         2.      The TCPA was enacted to prevent companies like Defendant from invading

American citizens’ privacy and to prevent abusive “robocalls.”

         3.      The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).

         4.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.’ 137 Cong. Rec. 30,821 (1991). Senator Hollings presumably intended to give telephone




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subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F.3d 1242, 1256 (11th Cir. 2014).

       5.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one consumer complaint to the FCC.             There are thousands of

complaints to the FCC every month on both telemarketing and robocalls. The FCC received

more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and

Empower Consumers Against Unwanted Robocalls, Texts to Wireless Phones, Federal

Communications Commission, (May 27, 2015).

       6.      As the Seventh Circuit Court of Appeals wrote: “No one can deny the legitimacy

of the state’s goal: Preventing the phone (at home or in one’s pocket) from frequently ringing

with unwanted calls. Every call uses some of the phone owner’s time and mental energy, both of

which are precious.” Patriotic Veterans v. Zoeller, 845 F.3d 303, 305-06 (7th Cir. 2017).

                                 Jurisdiction, Venue and Parties

       7.      This Court has original jurisdiction over Plaintiff’s claim arising under the TCPA

pursuant to 28 U.S.C. § 1331.

       8.      This Court has supplemental jurisdiction over Plaintiff’s state law claim, as the

state law claim arises out of a common nucleus of operative fact, and forms part of the same case

or controversy. 28 U.S.C. § 1367.

       9.      Personal jurisdiction exists over Defendant as it has the necessary minimum

contacts with the State of Florida, this suit arises out of Defendant’s specific conduct with

Plaintiff in Florida, and Plaintiff was injured in Florida.




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       10.     Venue is appropriate in the United States District Court for the Middle District of

Florida, Tampa Division, pursuant to 28 U.S.C. § 1391, as the events giving rise to Plaintiff’s

claims occurred in Hillsborough County, Florida.

       11.     Plaintiff is a natural person, and citizen of the State of Florida, residing in

Hillsborough County, Florida

       12.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

       13.     Plaintiff is an “alleged debtor.”

       14.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       15.     Defendant Charter Communications, Inc. is a foreign corporation with its

principal place of business located at 400 Atlantic Street, Stamford, Connecticut 06901.

Defendant conducts business in the State of Florida through its registered agent, Corporation

Service Company, located at 1201 Hays Street, Tallahassee, Florida 32301.

       16.     The debt that is the subject matter of this Complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

       17.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

                                       General Allegations

       18.     Defendant called Plaintiff on Plaintiff’s cellular telephone more than 50 times in

an attempt to collect a debt.

       19.     Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.

       20.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”




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which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C. § 227(a)(1) (hereinafter

“autodialer calls”).

        21.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (813) ***-8130, and was the called party and recipient of Defendant’s calls.

        22.     Defendant placed an exorbitant number of calls to Plaintiff’s cellular telephone

(813) ***-8130 in an attempt to collect on a debt.

        23.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following telephone numbers: (800) 892-2253

and (844) 206-8573. When those numbers are called, a pre-recorded voice answers “Welcome to

Spectrum. This call may be monitored or recorded.” Spectrum is the brand name used by

Defendant with respect to its cable and internet services.

        24.     Defendant knowingly/willfully harassed and abused Plaintiff on numerous

occasions by calling Plaintiff’s cellular telephone number up to five times per day, on back to

back days, nearly every day of the week, with such frequency as can reasonably be expected to

harass, all in an effort related to collection of the subject account.

        25.     On May 8, 2018, Plaintiff called Defendant and demanded that it stop calling her

cell phone. But the calls did not stop.

        26.     Despite Plaintiff clearly and unequivocally revoking any consent Defendant may

have believed it had to call Plaintiff on her cellular telephone, Defendant continued to place

automated calls to Plaintiff.




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        27.     Each subsequent call Defendant made to Plaintiff’s aforementioned cellular

telephone number was knowing and willful and made without Plaintiff’s “express consent.”

        28.     Defendant called Plaintiff’s cell phone five more times the same day she

demanded it stop, May 8, 2018.

        29.     The next day, May 9, 2018, Defendant called Plaintiff’s cell phone five more

times. And in the following weeks, Defendant continued to call Plaintiff’s cell phone.

        30.     Plaintiff’s demand that Defendant stop calling her cell phone was in vain, as

Defendant continued to bombard her with automated calls unabated.

        31.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to call individuals just as it did to Plaintiff’s cellular telephone

in this case.

        32.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to call individuals just as it did to Plaintiff’s cellular telephone

in this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

        33.     Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

        34.     Defendant has numerous other federal lawsuits against it alleging similar

violations as stated in this Complaint.

        35.     Defendant has numerous complaints against it asserting that its automatic

telephone dialing system continues to call despite requested to stop.

        36.     Defendant has had numerous complaints from consumers asking to not be called;

however, Defendant continues to call the consumers.




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       37.     Defendant’s corporate policy provided no means for Plaintiff to have her number

removed from Defendant’s call list.

       38.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

       39.     Not a single call placed by Defendant to Plaintiff was placed for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       40.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

       41.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her

right of seclusion.

       42.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of occupation of her cellular telephone line and

cellular telephone by unwelcome calls, making the telephone unavailable for legitimate callers or

outgoing calls while the telephone was ringing from Defendant’s calls.

       43.     From each and every call Defendant placed to Plaintiff’s cellular telephone

without consent, Plaintiff suffered the injury of unnecessary expenditure of her time. For calls

she answered, the time she spent on the call was unnecessary as she repeatedly asked for the calls

to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone and deal

with missed call notifications and call logs that reflected the unwanted calls. This also impaired

the usefulness of these features of Plaintiff’s cellular telephone, which are designed to inform the

user of important missed communications.

       44.     Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were




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answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

        45.      Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent resulted in the injury of unnecessary expenditure of Plaintiff’s cellular telephone’s

battery power.

        46.      Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent where a voice message was left, occupied space in Plaintiff’s telephone or network.

        47.      Each and every call Defendant placed to Plaintiff’s cellular telephone without

consent resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular telephone

and her cellular telephone services.

        48.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress and aggravation from

having to deal with Defendant’s numerous unwanted phone calls.

                                              COUNT I
                                       (Violation of the TCPA)

        49.      Plaintiff restates and incorporates herein her allegations in paragraphs 1 through

48 as if fully set forth herein.

        50.      Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the autodialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.




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          51.    Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C. §

227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the Court may

deem just and proper.

                                              COUNT II
                                      (Violation of the FCCPA)

          52.    Plaintiff restates and incorporates herein her allegations in paragraphs 1 through

48 as if fully set forth herein.

          53.    At all times relevant to this action Defendant was subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.

          54.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

with the debtor or any member of her family with such frequency as can reasonably be expected

to harass the debtor or her family.

          55.    Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of her

family.

          56.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,



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interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the Court may deem just and proper.


                                             Respectfully submitted,




                                             _____________________________
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